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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

833411
PHELAN HALLINAN DIAMOND & JONES, PC
1617 JFK Boulevard, Suite 1400
Philadelphia, PA 19103                                                              Order Filed on March 11, 2020
856-813-5500                                                                        by Clerk
Attorneys for FREEDOM MORTGAGE CORPORATION                                          U.S. Bankruptcy Court
In Re:                                                           Case No:   18-35288District
                                                                                      - ABAof New Jersey

JANET L. JOHNSON                                                 Hearing Date: January 28, 2020
OCTAVIUS J. JOHNSON A/K/A OCTAVIUS J. JOHNSON, II
                                                                 Judge: Andrew B. Altenburg, Jr




                  Recommended Local Form:                      Followed                            Modified


      ORDER RESOLVING MOTION TO VACATE STAY AND/OR MOTION TO DISMISS WITH CONDITIONS

      The relief set forth on the following pages, numbered two (2) and four (4) is hereby ORDERED.




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Applicant:                                  FREEDOM MORTGAGE CORPORATION
Applicant’s Counsel:                        Phelan Hallinan Diamond & Jones, PC
Debtor’s Counsel:                           SEYMOUR WASSERSTRUM, Esquire
Property Involved (“Collateral”):           1513 FAIRTON ROAD, MILLVILLE, NJ 08332


Relief sought:                    Motion for relief from the automatic stay
                                  Motion to dismiss
                                Motion for prospective relief to prevent imposition of automatic stay against the
                            collateral by debtor’s future bankruptcy filings


For good cause shown, it is ORDERED that Applicant’s Motion(s) is (are) resolved, subject to the following
conditions:
     1.       Status of post-petition arrearages:


             The Debtor is overdue for 4 months, from 10/01/2019 to 01/01/2020.


             The Debtor is overdue for 1 payments at $2,022.12 per month.


             The Debtor is overdue for 3 payments at $2,033.15 per month.


             The Debtor is assessed for           late charges at $     per month.


             Applicant acknowledges suspense funds in the amount of $_____.

          Total Arrearages Due $8,121.57.



2.        Debtor must cure all post-petition arrearages, as follows:

             Immediate payment shall be made in the amount of $               . Payment shall
          be made no later than         .


             Beginning on 02/01/2020, regular monthly mortgage payments shall continue to be made.


             Beginning on           , additional monthly cure payments shall be made in the amount of $        for
                 months.


             The amount of $8,121.57 shall be capitalized in the debtor’s Chapter 13 plan. Said amount shall be set
          up on Trustee’s ledger as a separate Claim. Debtor(s) shall file a Modified Plan within 10 days from the
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         entry of this Order to account for the additional arrears to be paid to the secured creditor via Chapter 13
         Plan and to adjust monthly payments to the Chapter 13 Trustee accordingly.



3.       Payments to the Secured Creditor shall be made to the following address(es):

     Immediate payment:




     Regular Monthly payment:

Freedom Mortgage
10500 Kincaid Drive
Fishers, IN 46037

     Monthly cure payment:




4.       In the event of Default:


               Should the Debtors fail to make any of the above captioned payments, or if any regular monthly
           mortgage payment commencing after the cure of the post-petition delinquency is more than thirty (30)
           days late, counsel shall file a Certification of Default with the Court, a copy of the Certification shall be
           sent to the Chapter 13 Trustee, the Debtors, and Debtors’ attorney and the court may enter an Order
           granting relief from the Automatic Stay


                In the event the Debtors converts to a Chapter 7 during the pendency of this bankruptcy case,
           the Debtors shall cure all arrears within ten (10) days from the date of conversion in order to bring
           the loan contractually current. Should the Debtors fail to bring the loan contractually current,
           counsel shall file a Certification of Default with the Court, a copy of the Certification shall be sent
           to the Chapter 13 Trustee, the Debtors, and Debtors’ attorney and the court may enter an Order
           granting relief from the Automatic Stay


                This agreed order survives any loan modification agreed to and executed during the instant
           bankruptcy. If any regular mortgage payment due after the execution of a loan modification is more than
           thirty (30) days late, counsel shall file a Certification of Default with the Court, a copy of the Certification
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       shall be sent to the Chapter 13 Trustee, the Debtors, and Debtors’ attorney and the court may enter an
       Order granting relief from the Automatic Stay




5.    Award of Attorneys’ Fees:

         The Applicant is awarded attorney’s fees of $500.00, and costs of $181.00.

              The fees and costs are payable:

                  Through the Chapter 13 plan. These fees/costs shall be set up as a separate claim to be paid by
                the Standing Trustee and shall be paid as an administrative claim.

                  to the Secured Creditor within        days.

                  Attorneys’ fees are not awarded.




6.    This Agreed Order survives any loan modification agreed to and executed during the instant bankruptcy.
